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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                             CASE NO: 2:15-cr-45-FtM-38MRM

RANFERI RAMIREZ-PORTILLO


                                                ORDER1

        This matter comes before the Court on Magistrate Judge Mac R. McCoy’s Report

and Recommendation (Doc. #192) filed on December 11, 2015, recommending

Defendant Ramirez-Portillo’s Motion to Suppress (Doc. #66) be denied. No objections

or responses were filed to the Report and Recommendation and the time to do so has

expired. The Report and Recommendation is now ripe for review.

        After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate judge’s

report and recommendation. 28 U.S.C. § 636(b)(1); United States v. Powell, 628 F.3d

1254, 1256 (11th Cir. 2010). A district judge “shall make a de novo determination of those

portions of the report or specified proposed findings or recommendations to which

objection is made.” 28 U.S.C. § 636(b)(1)(C); see also United States v. Farias-Gonzalez,

556 F.3d 1181, 1184 n. 1 (11th Cir. 2009). The district judge reviews legal conclusions

de novo, even in the absence of an objection. Cooper-Houston v. S. Ry. Co., 37 F.3d


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603, 604 (11th Cir. 1994). A district court may not reject the credibility determination of a

magistrate judge without personally rehearing disputed testimony from the witness.

Powell, 628 F.3d at 1256-58.

       After careful consideration of the Report and Recommendation and an

independent review of the file, the Court adopts, accepts, and approves the Report and

Recommendation.

       Accordingly, it is now

       ORDERED:

       Report and Recommendations (Doc. #192) is ACCEPTED and ADOPTED and

incorporated into this Order.     The Defendant, Ranferi Ramirez-Portillo’s Motion to

Suppress Evidence (Doc. #66) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this February 8, 2016.




Copies: Counsel of Record




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